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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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IN RE:                                                       Case No.: 15-72384

       JOHN AND CARLA O’MAHONEY                              CORRECTED SECOND AMENDED
                                                             CHAPTER 13 PLAN
                          Debtor
---------------------------------X

        1.     The future earnings of the debtor are submitted to the supervision and control of the
trustee and the debtor shall pay to the trustee as follows OVER A TERM OF SIXTY (60)
MONTHS as follows: $1400.00 PER MONTH FOR 60 MONTHS.


       2.      From the payments so received, the trustee shall make disbursements as follows:

(a) Full payment in deferred cash payments of all ALLOWED claims entitled to priority under 11
U.S.C. Section 507:

(i) Trustee Commission of 10%; (ii) Richard Feinsilver - $2500.00; (iii) Internal Revenue Service -
$6178.00; (IV) NYS Department of Taxation - $463.00

(b) Holders of allowed secured claims shall retain the liens securing such claims and shall be paid
as follows:

BENEFICIAL/HSBC (FIRST AND SECOND MORTGAGE) - Debtor to surrender real property
known as and by 30 Sequoia Drive, Coram NY in compromise and settlement in full of any
obligation to creditor. Debtor shall not object to any application filed by creditor to vacate the
automatic stay. Any deficiency claim shall be treated as a general unsecured debt and paid in
accordance with paragraph [c] below. Debtor shall not remit any post petition payments to this
creditor.
NISSAN - To be paid outside of plan. Debtor shall remit post petition payments to this creditor
outside of the plan.



(c) At the discretion of the Trustee, either subsequent to, or pro-rata with, dividends to secured
creditors, dividends to unsecured creditors whose claims are duly allowed as follows:

Pro-rata distribution to all timely filed proofs of claim AS FOLLOWS:

Unsecured creditors, EXCEPT NELNET, as a class, are to receive 100% of any allowed amount
claimed. Any claim filed by NELNET shall be paid outside of the Plan by the debtors.
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       3.      The following executory contracts and leases of the debtor are rejected: None.

Title to the debtor's property EXCEPT REAL PROPERTY shall revest in the debtor upon
confirmation of a plan. Debtor’s title to real property shall revest upon either the issuance of a
discharge after completion of the payments required by this plan or upon dismissal of the case after
confirmation.

Throughout the term of this plan, debtor agrees that it will not incur post-petition debt over $1500.00
without first notifying the Chapter 13 trustee in writing.


Dated: July 25, 2015                                          s/John O’Mahoney
                                                             __________________________
                                                             Debtor

                                                              s/Carla O’Mahoney
                                                             __________________________
                                                             Debtor
s/Richard S. Feinsilver
______________________________
Debtor's Attorney
